Case 2:08-cr-00176-SRC   Document 74   Filed 07/17/09   Page 1 of 6 PageID: 359
Case 2:08-cr-00176-SRC   Document 74   Filed 07/17/09   Page 2 of 6 PageID: 360
Case 2:08-cr-00176-SRC   Document 74   Filed 07/17/09   Page 3 of 6 PageID: 361
Case 2:08-cr-00176-SRC   Document 74   Filed 07/17/09   Page 4 of 6 PageID: 362
Case 2:08-cr-00176-SRC   Document 74   Filed 07/17/09   Page 5 of 6 PageID: 363
Case 2:08-cr-00176-SRC   Document 74   Filed 07/17/09   Page 6 of 6 PageID: 364
